      Case 4:03-cv-00101-RH-WCS Document 22 Filed 05/10/05 Page 1 of 2


                                                                                Page 1 of 2


          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,
ex rel., et al.,

             Plaintiffs,

v.                                                  CASE NO. 4:03cv101-RH/WCS

BARNES & MORGAN PARTNERSHIP,
etc., et al.,

          Defendants.
_________________________________________/


                             ORDER OF DISMISSAL


      The relators in this qui tam action have filed a motion for voluntary

dismissal under Federal Rule of Civil Procedure 41. The government consents to

dismissal. The government also has responded to the order to show cause entered

April 1, 2005, by indicating it consents to the unsealing of all papers identified in

that order. No other response to the order to show cause has been filed. Upon

consideration,

      IT IS ORDERED:

      The relators’ motion to dismiss (document 21) is GRANTED. The clerk

shall enter judgment stating, “Pursuant to Federal Rule of Civil Procedure 41(a),

this action is dismissed without prejudice.” The clerk shall unseal all documents
        Case 4:03-cv-00101-RH-WCS Document 22 Filed 05/10/05 Page 2 of 2


                                                                                 Page 2 of 2


filed in this action (other than relators’ attorneys’ time records) and shall close the

file.

         SO ORDERED this 9th day of May, 2005.

                                               s/Robert L. Hinkle
                                               Chief United States District Judge




Case No: 4:03cv101-RH/WCS
